
48 N.Y.2d 930 (1979)
Edgar Pauk, Appellant,
v.
Board of Higher Education of the City of New York, Respondent.
Court of Appeals of the State of New York.
Argued November 19, 1979.
Decided December 13, 1979.
Jonathan A. Weiss and Josephine Ho for appellant.
Allen G. Schwartz, Corporation Counsel (Ronald E. Sternberg and L. Kevin Sheridan of counsel), for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
Order affirmed, with costs, for the reasons stated in the opinion by Mr. Justice VINCENT A. LUPIANO at the Appellate Division (62 AD2d 660), to which we add only that even if we accepted petitioner's theory of estoppel the record does not establish that petitioner lacked the means of knowledge of what section 6206 (subd 3, par b) (now § 6212, subd 3, par b) of the Education Law provided.
